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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF KENTUCKY
                                       LOUISVILLE DIVISION

                                                  (Electronically Filed)

   AUSTIN CLARK,

                     Plaintiff
                                                                         Civil Action No. 3:21-CV-480-DJH
   v.

   UNIVERSITY OF LOUISVILLE,et al.,



                      Defendants

             DEFENDANTS JENNIFER KOCH,WILLIAM CRUMP,MOHAN RAO,
                AND THOMAS NEELY 'S MEMORANDUM IN SUPPORT OF
                                         '
               MOTION TO DISMISS PLAINTIFF S AMENDED COMPLAINT

           Defendants Jennifer Koch, William Crump, Mohan Rao, and Thomas Neely, in their

  individual and official capacities,' by counsel, move to dismiss Plaintiff Austin Clark's Amended

  Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.'

                                                  INTRODUCTION

            Austin Clark brought this lawsuit after he was dismissed from the University of Louisville

  School of Medicine for failing his Internal Medicine clerkship and exhibiting extremely unprofessional

  conduct in the clinical setting towards patients, faculty, and students. He brought this lawsuit alleging




  'For ease of reference, the other individual defendants, all sued in both their individual and official capacities, are Drs.
  Neeli Bendapudi, Lori Gonzalez, Toni Ganzel, Olivia Mittel, and Monica Shaw, who have a pending Motion to Dismiss
  before the Court (DN 9), as well as Drs. Julianna Brown, Cristina Giles, Jon Alexander, Sara Petruska, and Samuel
  Reynolds. Upon information and belief, Plaintiff has not served the University of Louisville or Drs. Brown, Giles,
  Alexander, Petruska, or Reynolds.
  2 This Motion to Dismiss ("Second Motion to Dismiss") is based largely on the same legal
                                                                                             principles as the earlier Motion
  to Dismiss filed by the earlier-served Defendants(DN 9).

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  that he was dismissed because of his traditional Christian and conservative beliefs, and because his

  instructors issued negative evaluations of Clark purportedly as retaliation for his beliefs.

          During his tenure as a student at the University of Louisville School of Medicine, Clark's

  instructors issued several evaluations of Clark with negative feedback or constructive criticism.

  Instead of utilizing this feedback from his instructors, Clark's focus remained on proving that each

  negative thing said about him was wrong, false, or based on a misunderstanding of Clark. Coupled

  with his demonstrated inability to productively respond to feedback, several instructors independently

  identified concerns about Clark continuing in medical school and, eventually, the practice of medicine.

  Clark continued challenging each negative evaluation he received and had numerous meetings with

  various University of Louisville School of Medicine faculty, the majority of whom explicitly told Clark

  that they were providing him with feedback because their goal was to see him succeed. Ultimately,

  however, after Clark received a failing grade in his internal medicine clerkship, Clark had a hearing

  before the Student Promotions Committee (the "Committee" or "SPC") to discuss his shortcomings

  as a medical student, and the hearing resulted in a Committee recommendation that Clark be dismissed

  from the University of Louisville School of Medicine. Clark appealed this recommendation — and

  even presented additional evidence for his appeal — before the Dean ultimately upheld the

  recommendation. Clark brought this lawsuit alleging that, instead of his well-documented deficiencies

  as a medical student, he was really dismissed due to his conservative views, his Christian beliefs, and

  his complaints about instructors' conduct.

          Clark's Amended Complaint should be dismissed with prejudice as a matter of law, because

  Clark's claims against Defendants Koch, Crump, Rao, and Neely are barred by the statute of

  limitations. Further, Clark's claims fail because the Defendants are entitled to sovereign immunity for

   their actions. Finally, Clark fails to state a claim for which relief can be granted. Clark's claims are

  legally and factually deficient and must be dismissed.


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                                             ALLEGED FACTS

         Clark's Amended Complaint makes a number of unsupported conclusions and offers his

  opinions and his admitted beliefs about various events but is light on actual facts. The facts relevant

  to this Motion,3 however, are accepted as true at this stage and reviewed herein.

          Clark was admitted to the University of Louisville School of Medicine as a medical student in

  2017. (DN 4, p. 41). This involved educational components at both the Jackson Street (Louisville)

  Campus and the Troyer Campus in Madisonville, Kentucky. (Id. at 41-42). Clark began his third year

  of medical schoolin the summer of2019 with instruction at the Troyer Campus. (Id. at 49). In August

  2019, Clark had a disagreement with a Troyer Campus instructor,Defendant Thomas Neely ("Neely"),

  wherein Clark stated that Neely was the worst instructor Clark ever had, and Neely allegedly called

  Clark 'stupid' and other untrue and derogatory terms[.]" (Id.). As a result of this disagreement, Clark

  alleges that Neely reported Clark's behavior to Defendant Mohan Rao ("Rao"). (Id. at 50). According

  to Clark, Rao is the Program Director of Surgery at the Troyer Campus,and Clark and Rao have never

  met. (Id. at 45). Nonetheless, Clark alleges that Neely and Rao reported Clark's conduct to Defendant

  William Crump ("Crump"), an "Assistant Dean and the Operating Dean at the Troyer Campus[.]"

  (Id. at 50; 43). Next, Clark alleges that Crump instructed Clark on appropriate behavior to address

  senior faculty members. (Id.). Clark alleges that after their disagreement, Neely refused to meet with

  Clark in his office, and instead, spoke through a doorway to Clark. (Id.).

          Within one week of Clark's disagreement with Neely, Rao sent a letter to Crump stating that

  the Troyer Campus faculty refused to accept Clark as a student at the Troyer Campus. (Id.). The next

  day, on August 15, 2019, Crump sent a letter to Clark stating that it was "not'in [Clark's] best interest

  . . . to return to the Troyer Campus[.]"' (Id.). Clark's exclusion from the Troyer Campus did not end




   As this Motion is brought only by Defendants Jennifer Koch, William Crump, Mohan Rao, and Thomas Neely, only the
  facts and allegations relevant to these Defendants are reviewed herein.

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  his academic career as a medical student and Clark does not allege that it permanently damaged his

  academic prospects. (See id.).

          After he returned to the Jackson Street Campus in Louisville, Clark was allegedly required to

  sign a "Professionalism Contract;" he does not allege that Crump, Rao, or Neely participated in the

  drafting or execution of this contract. (Id. at 51). Clark does not allege that Crump, Rao, or Neely

  discussed Clark's issues with anyone at the Jackson Street Campus, nor does he allege that anyone at

  the Jackson Street Campus had knowledge of his issues at the Troyer Campus. (Id.). Nonetheless, Clark

  returned to the Jackson Street Campus where his academic issues persisted and he continued to engage

  in disagreements with his instructors.' Beyond these events in August 2019, Clark does not allege that

  Crump,Rao, or Neely had any involvement in his academic career or the ultimate decision to dismiss

  him as a medical student.

          In February 2020, while at the Jackson Street Campus, Clark continued to have academic

  issues, this time arising out of a different instructor's criticisms of Clark. (Id. at 52). As a result of these

  issues, Clark filed a "mistreatment complaint" with various Defendants,including Dr.Jennifer Koch

 ("Koch"), on February 11,2020. (Id. at 52-53). Clark does not specify what this complaint contained,

  but generally alleges that it reported harassment and bullying by his instructor. (Id. at 52-53). Clark

  does not allege who reviewed his complaint, what the outcome of it was, or whether it had any effect

  on his subsequent issues while in medical school. (See id.). Clark does not allege that Koch had any

  decision-making power with respect to his mistreatment complaint; he merely alleges that she received

  his complaint. (Id.). He similarly does not allege that Koch had any involvement in his subsequent

  issues or the ultimate decision to dismiss him from the University of Louisville School of Medicine.

  (See id.). Clark does not allege that Defendants Koch, Crump, Rao, or Neely had any involvement in



                                                                                                                        issues do
  4Clark's continued issues during this time are irrelevant to the present Motion, as his allegations regarding these
  not implicate Defendants Koch, Crump,Rao, or Neely.

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  his career as a medical student aside from the allegations explicitly outlined above. (See id). Ultimately,

  due to continued subsequent issues, Clark was dismissed from the University of Louisville School of

  Medicine on July 27, 2020. (Id. at 56-57).5 Clark formally appealed his dismissal, but it was upheld.

 (Id. at 57).

                                              PROCEDURAL HISTORY

           On July 23, 2021, Clark filed this lawsuit against and fourteen individual defendants, alleging

  four causes of action pursuant to 42 U.S.C. 5 1983. (DN 1). On August 10, 2021, Clark filed an

  Amended Complaint, adding the University of Louisville as a Defendant, additional factual allegations,

  and another cause of action under § 1983. (See DN 4).6 Clark's Amended Complaint asserts five claims:

 (1) violation of Clark's right to freedom from speech retaliation;(2) violation of Clark's right to freedom

  of speech content and viewpoint retaliation;(3) violation of Clark's right to procedural due process;(4)
                                                                                                                                of
  violation of Clark's right to substantive due process; and (5) violation of his right to equal protection

  the law. (DN 4, pp. 59-59).

                                               STANDARD OF REVIEW

           Federal Rule of Civil Procedure 8(a)(2) requires a complaint to contain "a short and plain
                                                                                                   a
  statement of the claim showing that the pleader is entitled to relief." "To state a valid claim,
                                                                                              elements to
  complaint must contain either direct or inferential allegations respecting all the material
                                                                                                        500
  sustain recovery under some viable legal theog." League of United Latin American Citkens v. Bredesen,
                                                                                                 to state
  F.3d 523, 527 (6th Cir. 2007)(emphasis added). But if a plaintiff fails to plead "enough facts
                                                                                                                            state a
  a claim to relief that is plausible on its face," the complaint should be dismissed for failure to



                                                                                                                actually received his
  5 Clark's Amended Complaint alleges that he was dismissed on July 24, 2020,(DN 4, p. 57), but he
                              on July 27, 2020.   The differences     in these dates, however,   are immaterial for purposes of the
  formal letter of dismissal
  present Motion, as the relevant analyses do not turn on Clark's date of dismissal.
  4 Notably,the Amended Complaint purports to be both verified and submitted
                                                                                       not on August 10, 2021, but on July 23,2021,
  the date the original Complaint was filed. (Sue DN 4, p. 70-71;DN 1). It     is unclear whether the Amended Complaint contains
  an erroneous date or was not actually verified, but it is clear it was  not submitted  to the Court on July 23,2021,but rather on
  August 10, 2021.(See DN 4).

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  claim upon which relief may be granted. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). A

  claim for relief can survive a motion to dismiss only when it contains "sufficient factual matter,

  accepted as true, to state a claim to relief that is plausible on its face. A claim has facial plausibility

  when the plaintiff pleads factual content that allows the court to draw the reasonable inference that

  the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662,678(2009)(internal

  citations and quotation marks omitted).

          In Iqbal, the Supreme Court of the United States established a two-prong approach for

  determining whether allegations in a pleading satisfy Federal Rule of Civil Procedure 8(a)(2)'s

  requirements. Id. First, the Court must identify whether a pleading consists of factual allegations that

  allow it to "draw the reasonable inference that the defendant is liable for the misconduct alleged." Id.

  The Court only assumes the veracity of the allegations after this prong is satisfied to then determine

  whether the allegations "plausibly give rise to an entitlement of relief." Id. at 679. "[T]he court need

  not accept as true allegations that are conclusory or require unwarranted inferences based on the

  alleged facts." Newberry v. Silverman, 789 F.3d 636,640 (6th Cir. 2015).

          Thus, as the Sixth Circuit has recognized,"to survive a motion to dismiss under Rule 12(b)(6),

  a complaint must contain (1) enough facts to state a claim to relief that is plausible; (2) more than a

  formulaic recitation of a cause of action's elements; and (3) allegations that suggest a right to relief

  above a speculative level." Estate ofSmith ex rel. Richardson v. United States, 509 Fed. Appx.436,439 (6th

  Cir. 2012) (internal quotation marks omitted). Clark's Amended Complaint does not state facts that

  plausibly give rise to a claim for relief.

                                                ARGUMENT

  I.       Clark's Claims Against Koch, Crump, Rao, and Neely are Barred by the Statute of
           Limitations.

           All five of Clark's causes of action are brought pursuant to 42 U.S.C. § 1983.(See DN 4, pp. 59-

  69). But Clark is precluded from bringing any claims that fall outside the one year statute oflimitations
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  on § 1983 claims in Kentucky. Bonner v. Perry, 564 F.3d 424, 430-31 (6th Cir. 2009). "Section 1983, for

  its part, does not contain a statute of limitations of its own. It incorporates the relevant statute of

  limitations from the State in which the underlying constitutional tort arises." Miller v. Cocke Cry., No. 21-

  5585,2022 U.S. App. LEXIS 1062, at *3-4 (6th Cir. Jan. 11, 2022)(citing Roberson v. Tennessee, 399 F.3d

  792,794(6th Cir. 2005)). It is well settled that § 1983 claims "in Kentucky are limited by the one-year

  statute of limitations found in [Ky. Rev. Stat. §] 413.140(1)(a)." Collard v. Ky. Bd. ofNursing, 896 F.2d

  179, 182 (6th Cir. 1990). To determine when a § 1983 cause of action accrues, courts in the Sixth

  Circuit use an objective test and "lookt] to what event should have alerted the typical lay person to

  protect his or her rights." Hughes v. Vanderbilt Univ., 215 F.3d 543, 548 (6th Cir. 2000) (internal

  quotations omitted)(emphasis added). Clark's § 1983 claims against Defendants Koch, Crump,Rao,

  and Neely fall outside of the one year statute of limitations and should be dismissed.

           1.      Clark's g 1983 ClaimsAgainst Defendant Koch

          Clark's § 1983 claims against Koch are outside ofthe one year statute oflimitations. Clark alleges

  that Koch "is the Program Director of the Internal Medicine program at the Jackson Street Campus[,]"

  and that she has "never met or otherwise [known] Clark[.]" (Id. at 46-47). The only conduct Clark

  alleges related to Koch includes: (1) she "authorized and approved" others' unspecified "decisions

  regarding Clark[;]" (id. at 47); and (2) she received a mistreatment complaint from Clark on February

  11, 2020. (Id at 52-53). Clark commenced this suit over one year later, on July 23,2021. (DN 1). Clark

  does not allege that Koch took any actions or had any involvement in Clark's claims after her receipt of

  his mistreatment complaint in February 2020. (See DN 4). Consequently, Clark's claims against Koch

  fall outside of the one-year statute of limitations. As a result, Clark's § 1983 claims against Koch must

  be dismissed.




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          2.      Clark's 1983 Claims Against Defendant Crump

          Additionally, Clark's § 1983 claims against Crump are clearly time-barred. Specifically, he alleges

  that Crump sent Clark a letter informing him of the Troyer Campus faculty's decision to no longer

  accept him as a student. (Id. at 50). Clark's allegations against Crump all took place in August 2019.

 (Id. at 50-51). Clark initiated the present litigation on July 23, 2021. (DN 1). Clark's allegations against

  Crump are thus indisputably time-barred because they fall well outside of the one-year statute of

  limitations. Consequently, Clark's § 1983 claims against Crump must be dismissed.

          3.      Clark's1 1983 Claims Against Defendant Rao

          Clark's § 1983 claims against Dr. Mohan Rao ("Rao") are similarly time-barred. Clark alleges

  that Rao "is a surgical instructor and Program Director of Surgery at the Troyer Campus[,]" and that

  Rao "has never had Clark as a student" and "has never met Clark." (DN 4, pp. 45). However, Clark

  sates that Rao participated in the decision to remove Clark as a student from the Trover Campus. (Id.

  at 50). Clark's allegations against Rao are,in sum,that Rao "authorized and approved the retaliatory and

  unconstitutional decisions regarding Clark" at issue in this suit. (Id. at 45-56). As with Crump, all of

  Clark's allegations against Rao took place in August 2019. (Id. at 50-51). Clark does not allege that Rao

  took any actions after August 2019 that purportedly violated his rights. (Id.). Consequently, Clark's

  claims against Rao were brought well outside of the one-year statute of limitations. As a result, Clark's

  5 1983 claims against Rao must be dismissed.
          4.       Clark's T 1983 Claims Against Defendant Neely

          Finally, Clark's § 1983 claims against Neely are barred by the statute oflimitations. Clark alleges

  that Neely is an "instructor at the Trover Campus[,]" and that in August 2019, Neely retaliated against

  Clark for Clark's alleged first amendment protected activity. (DN 4, pp. 45; 50). Taking all of Clark's

  allegations as true, Neely's last interaction with Clark (including Neely's conduct that purportedly

  violated Clark's rights) took place in August 2019. (Id., pp. 49-51). Clark initiated the present litigation


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  on July 23, 2021. (DN 1). Thus, Clark filed suit over twenty two months after his last interaction with Neely

  wherein Neely purportedly violated his rights.         Consequently, Clark's claims against Neely are

  indisputably barred by the statute of limitations because Neely's purported violations of Clark's rights

  took place well over one year before Clark commenced this suit. Clark's 5 1983 claims against Neely

  must be dismissed as outside of the statute of limitations.

  II.     The Defendants Acting In Their Official Capacity Are Entitled to Eleventh Amendment
          Sovereign Immunity.

          Clark's official capacity   5   1983 claims against Defendants are clearly barred by sovereign

  immunity and should be dismissed. "The University ofLouisville is a state agency cloaked with Eleventh

  Amendment immunity." Kaplan v. Univ. of Louisville, 10 F.4th 569, 576 (6th Cir. 2021) ("Kaplan")

 (affirming the district court's grant of sovereign immunity to the University of Louisville as to former

  professor's procedural due process claims). As this Court has recognized, "[c]laims against U of L

  employees in their official capacities are claims against U of L itself[,]" which "is an arm of the

  Commonwealth of Kentucky and enjoys Eleventh Amendmentimmunity from suit[.]" Avemtt v. Hardy,

  Civil Action No. 3:19-cv-116-DJH-RSE,2020 U.S. Dist. LEXIS 36471,at *13(W.D.Ky. Mar. 3,2020).

  Consequently, Clark's for monetary damages against Defendants in their official capacities must be

  dismissed "because official-capacity claims for damages against state officials are barred by the Eleventh

  Amendment." Id. at *14 (citing Will v. Mich. Do't ofState Police, 491 U.S. 58,71 (1989)). Defendants are

  entitled to Eleventh Amendment immunity, and Clark's claims against them in their official capacities

  must be dismissed.

           1.      The Ex parte Young Exception Does NotApply

           Clark has failed to plead a claim for injunctive relief under the limited Exparte Young exception.

  In limited situations, the Ex parte Young exception to the Eleventh Amendment permits suits for

  prospective declaratory or injunctive relief if suit is brought against a state official acting in an official

  capacity. Exparte Young, 209 U.S. 123 (1908). "In determining whether the doctrine of Exparte Young
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  avoids an Eleventh Amendment bar to suit, a court need only conduct a 'straightforward inquiry into

  whether [the] complaint alleges an ongoing violation of federal law and seeks relief properly

  characterized as prospective."' Verkon Md. Inc. v. PSC,535 U.S. 635, 645 (2002)(quoting Idaho v. Coeur

  dA' lene Tribe ofIdaho, 521 U.S. 261, 296 (1997) (O'Connor, J., concurring)). Additionally, "[t]o take

  advantage of Exparte Young,`[t]he official against whom suit is brought must have the authority toperform the

  act sought' by the prospective relief." Saqr v, 2020 U.S. Dist. LEXIS at *26 (S.D. Ohio Sep. 8, 2020)

  (quoting Ling v. Univ. ofTenn.,2005 U.S. Dist. LEXIS 51004(W.D.Tenn.Jan. 3,2005))(emphasis added).

           While Clark may argue the Ex Parte Young doctrine should apply here, the Sixth Circuit has

  rejected a similar effort by a university professor to "shoehorn his claims into the Ex parte Young

   doctrine[.]" Kaplan v. Univ. ofLouisville, 10 F.4th 569, 577 (6th Cir. 2021). In Kaplan, a professor was

   banned from campus and terminated from his employment with the university, and the Eleventh

  Amendment barred his suit because any remedy sought "would necessarily be righting an alleged past

   wrong, the proper remedy for which would be damages, not injunctive relief." Kaplan v. University of

  Lollisnille, No. 3:19-CV-825-CRS,2020 U.S. Dist. LEXIS 131325, *13(W.D. Ky.Jul. 23, 2020). In the

   underlying District Court case, the Western District of Kentucky explained that to fall within Ex parte

   Young, the claim must be "brought against state officials in their official capacity" and "seek prapective

   relief to end a continuing violation of federal law." Id. at *14-15 (emphasis added).

           A cursory review of Clark's injunction request demonstrates the retroactive nature of the relief

   sought. (DN 4, pp. 69-70). Specifically, at its core, Clark's request for injunctive relief is really a

   request for the Defendants to reverse a past decision with which he disagreed. (Id.). Thus, the Ex

   parte Young doctrine does not apply because Clark is not seeking any form ofpropective relief. See Kaplan,

   2020 U.S. Dist. LEXIS 131325 at *13-15. Thus, Clark's official capacity claims are barred by the

   doctrine of sovereign immunity. Consequently, the Court should dismiss Clark's claims against

   Defendants in their official capacities.


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  III.    Clark Fails to State a Claim Against Defendants Koch, Crump,Rao,and Neely

          Clark's Amended Complaint is a classic example of a failure to plead "enough facts to state a

  claim to relief that is plausible on its face." Twombly, 550 U.S. at 570. Any "legal conclusions" provided

  by Clark do not have to be accepted as true and thus may be disregarded. Iqbal, 556 U.S. at 678. Many

  of Clark's allegations are precisely the sort of "unadorned, the-defendant-unlawfully-harmed-me

  accusation" Rule 8 prohibits, and are thus insufficient to "unlock the doors of discovery for a plaintiff

  armed with nothing more than conclusions." Id. at 678-79.

          Specifically, "[w]hen suing an individual actor ... for constitutional violations under § 1983, a

  plaintiff must demonstrate that the actor `directiy participated in the alleged misconduct, at least by

  encouraging, implicitly authorizing, approving or knowingly acquiescing in the misconduct, if not

  carrying it out himself." Flagg v. City ofDetroit, 715 F.3d 165, 174(6th Cir. 2013)(quoting Shehee v. Luttrell,

   199 F.3d 295,300 (6th Cir. 1999))(emphasis added). "To prove acquiescence,it is not enough to show

   that the actor merely failed to act against misconduct of which he was aware." Id. Thus,when analyzing

   whether a plaintiff has stated a claim under § 1983, courts "must analyze separately whether [a plaintiff]

   has stated a plausible constitutional violation by each individual defendant, and ... cannot ascribe the

   acts of all Individual Defendants to each individual defendant." Hgne v. Metro. Nashville Pub. Sch., 655

   F.3d 556, 564 (6th Cir. 2011) (citing Lanman v. Hinson, 529 F.3d 673, 684-88 (6th Cir. 2008)). Under

   this standard, "liability must lie upon more than a mere right to control employees and cannot rely on simple

   negligence." Gregory v. City ofLouisville, 444 F.3d 725,751-52(6th Cir. 2006)(internal citations omitted;

   emphasis added). Essentially, Clark "must allege with particularity, facts that demonstrate what each
                                                                                                         v.
   defendant did to violate the asserted constitutional right." Lanman, 529 F.3d at 684 (citing Terrance

   Northville Reg'l Psychiatric Hay,., 286 F.3d 834, 842 (6th Cir. 2002)(emphasis original). Clark's claims are

   all brought under § 1983 and, thus, each of his claims must at least meet this standard. They do not.




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  Clark has failed to sufficiently allege that Defendants Koch, Crump, Rao, or Neely violated his

  constitutional rights and, thus, his claims against them should be dismissed.

          With regard to Koch, Clark makes very few allegations, stating only that she "is the Program

  Director of the Internal Medicine program at the Jackson Street Campus," and that she never met Clark

  but nevertheless "chose to take the incorrect and retaliatory opinions of the three residents named in

  this complaint, as well as, her own blatant retaliatory opinion to fail Clark in the Internal Medicine

  course," resulting in Clark's dismissal. (DN 4, pp. 46-47). Yet Clark does not explain what "blatant

  retaliatory opinion" Koch supposedly had, nor does he explain why he believes she had reason to

  retaliate against Clark, as he does not allege that she had any knowledge of his purported protected

  conduct. (Id.). Regardless, however, Clark cannot state a claim against Koch merely by alleging that

  she authorized and approved others' decisions (id. at 47) because 5 1983 only permits liability if that

   defendant caused the deprivation of a Constitutional right, not if others did so. Heyne, 655 F.3d at 564.

   Clark's mere assertion that Koch "authorized and approved" others' decisions is insufficient as a

   matter of law to state a § 1983 claim against Koch. As a result, Clark's claims against Koch should be

   dismissed for failure to state a claim.

           Clark's claims against Crump suffer similar defects and should be dismissed. The totality of

   Clark's allegations against Crump are as follows: Crump "authorized and approved" others' decisions

   regarding Clark,(DN 4, p. 43); a Troyer Campus instructor insisted, to Crump, that Clark leave the

   Troyer Campus, (id. at 45); Crump instructed Clark on the appropriate manner to address faculty

   members, (id. at 50); and after receiving a letter stating that Troyer Campus faculty refused to accept

   Clark as a student, Crump sent Clark a letter advising him that it was not in his best interest to return

   to the Troyer Campus. (Id.). Assuming all of these allegations are true for purposes of the present

   analysis, Clark has failed to allege that Crump took actions that violated Clark's constitutional rights.

   Clark's claims against Crump should be dismissed for failure to state a claim.


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          Similarly, Clark admits that Rao "has never [even] met Clark," but still claims that Rao is liable

  for "support[ing]" others' "insulting behavior toward Clark" and because he participated in having

  "Clark removed from the Trover Campus."(Id. at 45-46). Clark does not explain how Rao "supported"

  others'insulting behavior. (Id.). Instead, Clark presents two factual allegations against Rao: Clark alleges

  that Rao (1) was told about a disagreement between Clark and a faculty member,and (2) sent a letter to

  Defendant Crump stating that Trover Campus faculty would no longer accept Clark as a student. (Id.

  at 50). Additionally, Clark concludes that because Rao has supervisory authority over instructors at the

  Trover Campus, he must be liable for the instructors' actions. (Id. at 45-46). Taking Clark's allegations

  as true, Clark has failed to state a claim as a matter of law against Rao. First, Clark does not allege that

  Rao actually participated in the decision to remove him from the Trover Campus, nor does he allege

  that Rao directly participated in actions that violated Clark's constitutional rights. Second, the doctrine

  of respondeat superior does not apply in § 1983 actions to impute liability to supervisors, so Rao may not

   be liable for instructors' conduct even ifhe has supervisory authority over them. Monell v. New York City

   Dep't ofSoc. Sews., 436 U.S. 658, 691 (1978); Taylor v. Mich. Dep't of Corr., 69 F.3d 76, 80-81 (6th Cir.

   1995). Clark has failed to allege facts sufficient to show Rao's involvement in any of the purported

   violations of Clark's constitutional rights and his claims against Rao should be dismissed.

           Finally, Clark's claims against Neely are similarly deficient as a matter oflaw. Clark alleges that

   Neely "engaged in a pattern ofinsulting conversations with Clark." (Id. at 45). Clark also alleges that

   Neely initiated the process to have Clark leave the Trover Campus,(id.), but Clark does not allege that

   Neely participated in the ultimate decision, nor that Neely had the power to exclude Clark from the

   Trover Campus. (See id. at 50). Assuming that Neely did engage in "insulting conversations" with

   Clark and requested that his superiors consider having Clark leave the Trover Campus,Clark has failed

   to illustrate how Neely purportedly violated Clark's rights. Insults are not constitutional violations,




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  nor are instructors' reports about students' conduct. In sum, Clark has failed to state a § 1983 claim

  against Neely, so his claims against Neely should be dismissed.

          Clark attempts to tie a web of allegations implicating Defendants in one another's actions and

  imputing some Defendants' authority to others. (DN 4). But at this stage, Clark is required to "allege

  with particularity, facts that demonstrate what each defendant did to violate the asserted constitutional

  right." Lanman, 529 F.3d at 684 (citing Terrance, 286 F.3d at 842 (emphasis original). Defendants'

  "liability must lie upon more than a mere right to control employees and cannot rely on simple

  negligence." Gregory, 444 F.3d at 751-52 (internal citations omitted). When Clark's allegations against

  each Defendant are analyzed separately from his allegations against the others, it is clear that Clark has

  failed to state a claim against Defendants Koch,Crump,Rao,and Neely as a matter oflaw. But even if

   Clark has sufficiently alleged "that [each defendant] 'directly participated' in the alleged misconduct,"

  Flagg, 715 F.3d at 174 (citation omitted), he has failed to state a claim under the applicable frameworks

   for each of his causes of action.

           1.      Clarkfails to state a claimfor First Amendment retaliation

           In the Sixth Circuit, to establish a claim of First Amendment retaliation, a plaintiff must show

   that: 1) they were "engaged in a constitutionally protected activity;" 2) the defendant's action caused

   them "to suffer an injury that would likely chill a person of ordinary firmness from continuing to engage

   in that activity;" and 3) "that the action was motivated at least in part as a response to the exercise of

  [their] constitutional rights." Leary v. Daeschner, 228 F.3d 729, 737 (6th Cir. 2000)(quoting Bloch a Ribar,

   156 F.3d 673,678 (6th Cir. 1998))(quotations omitted); see also Thompson v. Ohio State Univ., 990 F. Supp.

   2d 801 (S.D. Ohio 2014)(applying same standard to claims involving students). Under the first prong,

  "[t]o demonstrate that he was engaged in constitutionally protected speech, plaintiff must show: 1) his

   speech touched on a matter of public, as opposed to private, concern; and 2) his 'interest in commenting

   on matters of public concern ... outweighs the interest of the State."' Flaim v. Med. College ofOhio, No.


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  3:03-cv-197, 2004 U.S. Dist. LEXIS 5633 at *27-28(N.D. Oh., Mar. 16, 2004)(quoting Cockrel v. Shelby

  County Sch. Dist., 270 F.3d 1036, 1048 (6th Cir. 2001)) (edits original). And under the third prong, a

  plaintiff "must show that his First Amendment protected activities were a motivating factor, or

  essentially a but-for cause — without which the action being challenged simply would not have been

  taken." Holsapple v. Cunnin,gbatn, 817 Fed. App'x 95, 101 (6th Cir. 2020)(cleaned up).

           Clark's First Amendment retaliation claim is deficient as a matter of law. First, Clark has not

  sufficiently alleged that he engaged in protected activity under the First Amendment. It is difficult to

  glean from the face of Clark's Amended Complaint what his alleged protected speech actually was.

   Specifically, Clark alleges that his purported "protected activity" included:

          • Inviting a speaker to campus to give a "presentation as to when life actually" begins,(DN 4,
            p. 48-49);

           ▪ "[P]articipat[ing] in respectful verbal oppositional activity" by telling Neely that Neely was
             the worst preceptor Clark ever had, (id. at 49);

           •   "[E]ngag[ing] in respectful verbal oppositional activity" with a deirent preceptor wherein
               Clark challenged that preceptor's criticisms of Clark (id at 52); and

           •   Reiterating his complaints to the Student Promotions Committee while "attempt[ing] to
               defend himself[.]" (Id. at 56).

   Clark's purported First Amendment activity with Neely and his other preceptor unquestionably dealt

   with matters of private concern, as they related solely to Clark's interpersonal relationships and

  interactions with those preceptors. (Id. at 49, 52). Regardless, none of his allegations clearly spell out

   the contents of Clark's purported First Amendment speech that he now claims is protected. (Id.).

           Notwithstanding the lack of clarity around the content of Clark's alleged protected speech, Clark

   also fails to provide sufficient detail about the form and context of his speech to demonstrate that it was

   protected. Specifically, Clark divulges little detail about the audiences of his purported protected speech.

   (Id. at 48-49, 52, 56). Moreover, Clark does not provide any allegations about the timing or location of




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  his alleged First Amendment activity demonstrating that his speech was made in any sort of public or

  quasi-public forum. (Id.).

           More glaringly, Clark fails to allege any causal connection between his alleged protected activity

  and any adverse education outcomes he had. Critically, Clark does not allege that his adverse

  education actions were the result of his purported protected activity. First, Clark does not allege

  that any Defendants even knew about the presentation by the speaker he invited to campus, much less

  that they took adverse action against Clark because ofthe content of that speaker's presentation. (Id. at

  48-49). Second, while Clark alleges that he engaged in protected speech with Neely, Clark does not

  allege that Neely told anyone about Clark's alleged protected speech. (Id. at 49-50). Moreover, Clark

   does not allege that Rao or Crump's decision to exclude Clark from the Traver Campus was in any way

  related to the content of Clark's alleged protected speech with Neely. (Id. at 50)(alleging that Crump's

   decision was "a result of the actions ofRao and Neely, and their conversations with Crump[.]"). Third, while

   Clark alleges that a resident physician recommended that Clark fail the Internal Medicine clerkship "as

   a result of' Clark's disagreement with his preceptor, Clark does not allege that the resident physician

   knew anything about Clark's allegedly protected speech. (Id. at 52)(alleging only that the resident physician is a

                         'the preceptor with whom Clark spoke).
  "friend and colleague of

           Finally, Clark alleges that the Student Promotions Committee recommended Clark's dismissal

  "after" his alleged protected activity during his SPC hearing, with a bare, formulaic conclusion that this

   recommendation was "solely as a result of Clark's "various aforementioned protected speech campus,

  [sic] his political and religious viewpoint, the oppositional speech on Clark's clerkships, and speech

   before the Student Promotions Committee." (Id. at 56). Allegations that a decision-maker knew of the

   alleged protected activity (in addition to the close temporal proximity of their actions) are sufficient to

   establish the required element of causation. See Bright v. Gallia Co., 753 F.3d 639, 653-54(6th Cir. 2014)

  (collecting cases). But Clark does not allege that the Committee had any knowledge ofhis prior instances


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  of alleged protected activity. (Id.). While Clark attempts to create the appearance that each adverse

  educational outcome he had was related to his alleged protected activity, he has failed to allege that the

  decision makers at any stage had knowledge of his purported protected activities. Clark has failed to

  state a viable First Amendment retaliation claim, so his first cause of action should be dismissed.

           2.        Clarkfails to state a FirstAmendment content or viewpoint discrimination claim

          "[T]he government may not regulate speech based on its substantive content or the message it

  conveys." Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 828 (1995). "Regulation of

  speech based on content excludes a category of speech, whereas viewpoint discrimination favors a

   particular position." Lowden v. County ofClare, 709 F. Supp.2d 540,560(E.D. Mich. Mar.26,2010)(citing

  Boos v. Barry, 485 U.S. 312, 319 (1988)). Clark has failed to state a claim content or viewpoint

   discrimination.

           First, Clark has not alleged that any Defendants took any actions that excluded a category of

   speech. In sum, Clark's alleged protected activity included (a) inviting a speaker to give a presentation,

  (b)"respectful verbal oppositional activity" with his instructors, and (c) "reiterated his concerns" about

   the aforementioned alleged protected activity.         (DN 4, p. 48; 49-50; 51-52; 56).         Clark has not alleged

                                                                                                                      these
   that any of these categories of speech have been regulated or that Defendants have sought to limit

   categories of speech in any way. (Id). Moreover, Clark has failed to identify his viewpoint such that

   his viewpoint discrimination claim may even be articulated. (Id.). Clark has not alleged that any
                                                                                                         to
   Defendants sought to regulate his speech based on his viewpoint. (See id.). In fact, Clark has failed
                                                                                                  that
   allege that Defendants sought to regulate his speech at all. (Id.)7 Clark has not demonstrated

   Defendants affirmatively excluded speech by category or a specific viewpoint, like denying a Christian




                                                                                                     time, place, and manner
   7 At most, Clark alleges that the University of Louisville School of Medicine implemented a
                                                       activity,(DN 4, pp. 48-49), but he does not allege that any Defendants
   restriction on speech after his alleged protected
   sought, enacted, or implemente   d this restriction. (Id.).

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  student organization funding to print its newspaper or prohibiting a religious organization access to

  public facilities. See Rosenberger v. Rector and Visitors of University of Virginia, 515 U.S. 819 (1995); Lamb's

  Chapel v. CenterMoriches Union Free School District, 508 U.S. 384(1993). Clark has failed to state a claim for

  First Amendment content or viewpoint discrimination as a matter oflaw,and his second cause of action

  should be dismissed.

          3.       Clarkfails to state a claimfor aprocedural dueprocess violation

          A plaintiff claiming violation of his procedural due process rights must allege facially plausible

  facts showing that (1) he had a fundamental liberty or property interest (2) that was deprived without

  sufficient notice or opportunity to be heard. Board ofRegents ofState Colleges v. Roth, 408 U.S. 564, 572-

  73. As the Sixth Circuit has recognized, "due process is not a fixed or rigid concept, but rather, is a

   flexible standard which varies upon the nature of the interest affected, and the circumstances of the

   deprivation." Flaim v. Med. College of Ohio, 418 F.3d 629,634 (6th Cir. 2005). In the context of school

   discipline, an accused student must be provided (1) notice of the charges against him;(2) an explanation

   of the evidence against him; and (3) an opportunity to present his side before an unbiased decisionmaker.

   Heyne v. Nashville Public Schools, 655 F.3d 556, 565-66 (6th Cir. 2011). Once a student has been provided

   notice and a hearing, "courts should refrain from second-guessing the disciplinary decisions made by

   school administrators." Davis v. Monroe County Board ofEducation, 526 U.S. 629,648 (1999).

           Clark's Amended Complaint is clear that he received procedural due process. Specifically, Clark

   explicitly admits "that he was given some manner of notice and opportunity to be heard in accordance

   with academic discipline as defined by the United States Constitution[.]" (DN 4, p. 63). This is all due

   process requires. See Johnson v. Morales, 946 F.3d 911,928 (6th Cir. 2020)(affirming district court's grant

   of motion to dismiss when plaintiff conceded that they had been provided notice and an opportunity

   for a hearing). Clark received notice of his charges and an opportunity to be heard, and the mere fact

   that he disagrees with the outcome does not state a claim for violation of procedural due process. Nor


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  does the fact that Clark would appreciate greater protections than due process requires. (Id. at 63-64)

  (complaining that unnamed "faculty and leadership of the School" allegedly failed "to adequately

  consider alternative methods of discipline[.]"). Clark received notice of his academic disciplinary

   proceedings,(id. at 54), was able to provide evidence,(id. at 54-55), and in fact offered a statement at the

   hearing in which he voiced his concerns. (Id. at 56).8 Clark's academic disciplinary proceedings met and

   exceeded the requirements for procedural due process. Further, Clark has not alleged that any

  Defendants deprived him of notice or an opportunity to be heard. (See id.). Clark has failed to state a

   claim for a procedural due process violation, and his third cause of action should be dismissed.

            4.         Clarkfails to state a claimfor a substantive due process violation

           "To state a claim of substantive due process,[Clark] must allege facts that would establish that

   `(1) a constitutionally protected property or liberty interest exists, and (2) the constitutionally protected

   interest has been deprived through arbitrary and capricious action."' Bertovich v. Vill. OfValley View, 431

   Fed. App'x 455,459-60 (6th Cir. 2011)(quoting Braun v. Ann Arbor Charter Twp., 519 F.3d 564, 573 (6th

   Cir. 2008)). "In order to establish such arbitrary and capricious action, the plaintiffi] must show that

   there is no rational basis for the University's decision, or that the decision to dismiss was motivated by

   bad faith or ill will unrelated to academic performance." Stevens v. Hunt, 646 F.2d 1168, 1170 (6th Cir.

   1981)(citations omitted).

             Clark offers only conclusory statements and a bare recitation of the elements in support of his

   substantive due process claim. (DN 4, p. 64-66). He makes vague, unsupported references to the

   treatment of unspecified "other students" as a means of establishing that Defendants acted arbitrarily

   and capriciously. (Id. at 66). Cursory references to alleged violations of substantive due process are




                       opportunity to be heard was so sufficient that he was able to "complaint about the lack of due process
   8 Ironically, Clark's
   and lack oftransparency" at a hearing for which he was given notice and was contemporaneously utilizing his opportunity
   to be heard. (Id.).

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  insufficient to adequately plead a claim. See Nichols v. Dagger, 856 F. App'x 589,601 (6th Cir. 2021). Clark

  also does not specify a single action taken by any individual Defendant that was purportedly arbitrary

  and capricious; instead, he wages vague and conclusory allegations against "faculty," generally. (Id. at

  64-66). Clark has utterly failed to state a claim for a substantive due process violation and, as such, his

  fourth cause of action should be dismissed.

           5.       Clarkfails to state a claimfor an equalprotection violation

          "The threshold element of an equal protection claim is disparate treatment; once disparate

   treatment is shown,the equal protection analysis is determined by the classification used by government

   decision-makers." Scarbrough v. Morgan County Board ofEducation,470 F.3d 250,260(6th Cir. 2006). Where

   a plaintiff asserts that "others 'similarly situated' received different treatment'without any rational basis

   for the difference[,]"' it is referred to as "a 'class-of-one'theory." Davis v. DetroitPub Sch. Cm0. Dist., 835

   Fed. App'x 18, 22(6th Cir. 2020)(citations omitted). Under a class-of-one theory, a plaintiffs failure to

   provide concrete allegations about the treatment of similarly situated persons is fatal to his claim. Id.

  (citing Braun,519 F.3d at 575).

           Clark attempts to craft allegations sufficient to state an equal protection violation claim in two

   ways. First, Clark makes conclusory allegations that "Defendants"(presumably all fifteen ofthem)took

   actions which were improper. But Clark "cannot ascribe the acts of all Individual Defendants to each

   individual defendant." Heyne, 655 F.3d at 564. It is impossible to gleam the identity of the individuals

   implicated in Clark's equal protection claim from Clark's Amended Complaint. (DN 4, pp. 66-67).

   But Clark aims to cure this deficiency in the second route through which he attempts to state an equal

   protection claim: Clark engages in a formulaic recitation that each individual Defendant subjected

   Clark to "demeaning, disparaging, and belittling behavior," and that "[n]o other students have been

   or are subject to" such behavior. (Id. at 67-68). But Clark fails to provide the identity of a single

   other student which he claims has been treated in a different manner than he has. (See DN 4). This


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  is fatal to his claim as Clark must identify similarly situated individuals to state a cognizable claim. In

  Davis v. Detroit Pub. Sch. unty. Dist., the Sixth Circuit affirmed the trial court's dismissal of a plaintiffs

  equal protection claim "because he .. . identified no similarly situated individuals." 835 F. App'x 18,

  22 (6th Cir. 2020). Clark's equal protection claim is no different and amounts to nothing more than

  general and conclusory allegations against all Defendants with a formulaic assertion of disparate

  treatment by each individual Defendant. (Id. at 66-69). This is not enough to state a claim as a matter

   of law. Clark has failed to allege any facts suggesting that any Defendant treated other students in a

   different manner than they treated Clark. Moreover, even ifany Defendant treated Clark differently,

   Clark has not shown that there was no rational basis for the different treatment. (See DN 4). Clark

   has failed to state a claim for an equal protection violation and, consequently, his fifth cause of action

   should be dismissed.

                                               CONCLUSION

           Clark aims to bring time-barred claims against Defendants Koch,Crump,Rao,and Neely, but

   he has failed to state a claim upon which relief can be granted. Furthermore, the Defendants are

   protected by Eleventh Amendment immunity from Clark's claims. As such, Defendants Koch,

   Crump, Rao, and Neely respectfully request that the Court enter their tendered Order dismissing this

   matter with prejudice as a matter of law.

                                                             Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and accurate copy of the foregoing was served via the Court's
  electronic case management system(CM/ECF)on this 31st day ofJanuary,2022,upon the following:

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